Case 2:18-cv-02421-JFW-E Document 39 Filed 04/11/18 Page 1 of 2 Page ID #:411



COVINGTON & BURLING LLP
Mitchell A. Kamin(Bar No. 202788)
 mkamin cov.com
Neema T. ahni(Bar No. 274240)
 nsashni cov.com
Mark Y. hen (Bar No. 310450)
 mychen cov.com
Rebecca     Van Tassell(Bar No. 310909)
 rvantassell@cov.com
1999 Avenue ofthe Stars, Suite 3500
Los Angeles, CA 90067-4643
Telephone: + 1 424-332-4800
Facsimile: + 1 424-332-4749
Attorneysfog Defendant State ofQatar
                      UNITED STATES DISTRICT COURT
                 FOR THE CENTRAL DISTRICT'OF CALIFORNIA
                            EASTERN DIVISION

BROIDY CAPITAL MANAGEMENT                                 Civil Case No.:
LLC,ELLIOTT BROIDY,and ROBIN
ROSENZV'VEIG                                             2:18-CV-02421-JFW

       Plaintiffs,                                        DECLARATION OF LEAD TRIAL
                                                          COUNSEL RE: COMPLIANCE
      r~                                                  WITH LOCAL RULES
                                                          GOVERNING ELECTRONIC
 STATE OF QATAR,STOTIINGTON                               FILING
 STRATEGIES LLC,NICOLAS D.
 MUZIN, and DOES 1-10,
                                                          Judge:          Han. John F. Walter
       Defendants.




                           __
      DECLARATION OF LEAD TRIAL COUNSEL RE: COMPLIANCE WITH LOCAL RULES GOVERNING ELE TR
                                         CASE NO.: 2-18-CV-02421-JFW
Case 2:18-cv-02421-JFW-E Document 39 Filed 04/11/18 Page 2 of 2 Page ID #:412
                                                                                                      E




                       DECLARATION OF MITCHELL A. KAMIN
      I, Mitchell A. Kamin, hereby declare as follows:
       1.    I am a partner at the law firm of Covington &Burling LLP. I represent the
Defendant State of Qatar in this action, and I hereby submit this declaration in
accordance with section 3(a) of Judge John F. Walter's Standing Order.
      2.     I am Lead Trial Counsel for Defendant State of Qatar in this case.
                                                                E
      3.     I am registered as an ECF user in the Central District of California, and my
email address of record is mkamin@cov.com.
      4.     I consent to electronic service and receipt of filed documents by electronic
means.
      Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing
is true and correct.


DATED: April 11, 2018                                      COVINGTON & BLTRLING LLP

                                                                                       4

                                                                             ~~

                                                                     ichell A. Kamin

                                                           Attorneys for Defendants
                                                           State of Qatar




                                                    1
      DECLARATION OF LEAD TRIAL COUNSEL RE: COMPLIANCE WITH LOCAL RULES GOVERNING ELECTRONIC FILING
                                         CASE NO.: 2-18-CV-02421-JFW
